
USCA1 Opinion

	






                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 94-1249

                                    UNITED STATES,
                                      Appellee,

                                          v.

                               CARLOS MARTINEZ-MOLINA,
                                Defendant - Appellant.

                                 ____________________

          No. 94-1250

                                    UNITED STATES,
                                      Appellee,

                                          v.

                              LUIS MALDONADO-RODRIGUEZ,
                                Defendant - Appellant.

                                 ____________________

          No. 94-1251

                                    UNITED STATES,
                                      Appellee,

                                          v.

                               ALFONSO RODRIGUEZ-RESTO,
                                Defendant - Appellant.

                                 ____________________


          No. 94-1252

                                    UNITED STATES,
                                      Appellee,

                                          v.

                              ANGEL RODRIGUEZ-RODRIGUEZ,
                                Defendant - Appellant.

                                 ____________________














          No. 94-1253

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                ANGEL FELICIANO-COLON,
                                Defendant - Appellant.

                                 ____________________

          No. 94-1254

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                LUIS MAYSONET-MACHADO,
                                Defendant - Appellant.

                                 ____________________

          No. 94-1255

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                RAFAEL E. VELEZ-MATOS,
                                Defendant - Appellant.

                                 ____________________

          No. 94-1325

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                VICTOR NOBLE-CANALES,
                                Defendant - Appellant.

                                 ____________________






                                         -2-














          No. 94-1631

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                EDDIE TRAVIESO-OCASIO,
                                Defendant - Appellant.

                                 ____________________

          No. 94-1791

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                 OSCAR PAGAN-GARCIA,
                                Defendant - Appellant.

                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                    [Hon. H ctor M. Laffitte, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                            Selya and Cyr, Circuit Judges.
                                           ______________

                                _____________________

               Teodoro  M ndez-Lebr n,  by Appointment  of  the Court,  for
               ______________________
          appellant Carlos Mart nez-Molina.
               Laura   Maldonado-Rodr guez,   Assistant    Federal   Public
               ___________________________
          Defender,  with  whom  Benicio   S nchez-Rivera,  Federal  Public
                                 ________________________
          Defender, was on brief for appellant Luis Maldonado-Rodr guez.
               Ram n  Garc a, by  Appointment of  the Court,  on brief  for
               _____________
          appellant Alfonso Rodr guez-Resto.
               Eric B. Singleton for appellant Angel Rodr guez-Rodr guez.
               _________________
               Frank  Pola, Jr., by Appointment of the Court, for appellant
               ________________
          Angel Feliciano-Col n.
               Manuel San Juan, by Appointment  of the Court, for appellant
               _______________
          Luis Maysonet-Machado.

                                         -3-














               Miriam Ramos-Grateroles,  by Appointment  of the Court,  for
               _______________________
          appellant Rafael E. V lez-Matos.
               Thomas R.  Lincoln, by Appointment  of the Court,  with whom
               __________________
          Law  Offices of  Thomas R.  Lincoln, was  on brief  for appellant
          ___________________________________
          V ctor Noble-Canales.
               Mar a H. Sandoval for appellant Eddie Travieso-Ocasio.
               _________________
               Lydia Lizarribar-Masini for appellant Oscar Pag n-Garc a.
               _______________________
               Joseph  C. Wyderko,  Attorney, Department  of  Justice, with
               __________________
          whom  Guillermo Gil, United  States Attorney, and  Esther Castro-
                _____________                                ______________
          Schmidt, were on brief for appellee.
          _______



                                 ____________________

                                   August 30, 1995
                                 ____________________




































                                         -4-














                    TORRUELLA,  Chief  Judge.    Appellants  and  four  co-
                    TORRUELLA,  Chief  Judge.
                                ____________

          defendants were arrested at the Barbosa Park in  Santurce, Puerto

          Rico,  after  a  Drug Enforcement  Administration  ("DEA")  agent

          observed  them  participating  in  what  appeared  to be  a  drug

          transaction.   The defendants moved to suppress evidence obtained

          pursuant  to the  arrest  on  the grounds  that  the arrests  and

          subsequent  searches were  made  without  probable  cause.    The

          district court denied  their motions, and the  appellants entered

          conditional  guilty  pleas.     Several  appellants  subsequently

          claimed  that  their  guilty  pleas were  coerced  and  moved  to

          withdraw them.  The district court denied these motions as well.

                    Appellants  now appeal  the denial  of  the motions  to

          suppress and  motions to  withdraw their guilty  pleas.   For the

          following reasons, we affirm in part and reverse in part.

                                  STATEMENT OF FACTS
                                  STATEMENT OF FACTS

                    We recite the facts adduced at a suppression hearing in

          the light  most favorable to  the district court's ruling  to the

          extent  that they  derive support  from  the record  and are  not

          clearly  erroneous.  United  States v. Sealey, 30  F.3d 7, 8 (1st
                               ______________    ______

          Cir. 1994).

                    On July 1,  1993, at approximately 2:30 p.m., DEA Agent

          Carlos Rivera ("Agent Rivera") was driving past Barbosa park when

          he noticed eight or nine men grouped around a concrete bench near

          one of  the park's  basketball courts.   Seven or  eight vehicles

          were parked in a row alongside the group of men.   Appellant Luis

          Maldonado-Rodr guez ("Maldonado") was talking on a cellular phone


                                         -5-














          and another man in the group had a cellular phone attached to his

          waist.   Agent Rivera observed that  the men were not  dressed to

          play basketball  and did  not appear to  have coolers,  sodas, or

          alcoholic beverages.  Agent Rivera testified that although he did

          not  know  any of  the  men  by name,  he  had  occasionally seen

          Maldonado  near  a  drug distribution  spot  in  a local  housing

          project.  

                    Agent  Rivera parked his  car in the  adjoining parking

          lot and began  to surveil the group through  binoculars.  Besides

          Maldonado, the group  included appellants Alfonso Rodr guez-Resto

          ("Rodr guez-Resto"),  Eddie  Travieso-Ocasio  ("Travieso"), Angel

          Feliciano-Col n  ("Feliciano"),  V ctor  Noble-Canales ("Noble"),

          Luis  Maysonet-Machado ("Maysonet"),  and  Rafael E.  V lez-Matos

          ("V lez").    Codefendants   Enrique  Romero-Carri n  ("Romero"),

          Carlos  Rub n  Tejada-Morales  ("Carlos   Tejada"),  Angel  David

          Tejada-Morales ("Angel Tejada") were also present.1

                    About  ten  minutes  later, Agent  Rivera  saw  a black

          Nissan Pathfinder drive up and park behind Maldonado's Red Suzuki

          jeep.  The  passenger of the black  Pathfinder (the "Passenger")2

          exited  the  vehicle  and  conversed  with  Maldonado,  Travieso,

          Feliciano, and  Romero.    The Passenger  then  removed  a  large

          handbag  from the  rear of  the  black Pathfinder  and placed  it

          between a white GMC van and a gray Mercury Cougar parked side-by-
                              
          ____________________

          1   Romero, Carlos  Tejada, and Angel  Tejada are  not parties to
          this appeal.

          2  The  driver and passenger of  the black Pathfinder  were never
          identified.

                                         -6-














          side  next to  the basketball  court.   The  Passenger removed  a

          second handbag  from the black  Pathfinder and placed it  next to

          the first.  

                    Agent Rivera then drove through the parking  lot to get

          a closer look.   As  he passed  by, he  saw Maldonado,  Travieso,

          Feliciano,  Romero,   and  the  Passenger   gathered  around  the

          handbags.  Agent Rivera testified that the Passenger was handling

          square-shaped packages that  appeared to contain cocaine.   Agent

          Rivera  also noticed that the  sliding door of  the white GMC van

          was open, although he could not see anything inside.

                    After returning  to  his  previous  surveillance  post,

          Agent Rivera saw Noble, Maysonet, Carlos Tejada, and Angel Tejada

          standing near the black Pathfinder.   Agent Rivera also  observed

          Travieso and Romero apparently arranging something in the rear of

          a black Pontiac station wagon.  Agent Rivera did not observe them

          carry anything  to  the black  station  wagon.   Several  minutes

          later, the black  Pathfinder left the parking lot.   Agent Rivera

          then left his surveillance post and called his office for backup.

          Around  the same  time  as  Agent Rivera  returned  to his  post,

          appellant   Angel   Rodr guez-Rodr guez   ("Rodr guez-Rodr guez")

          arrived in a  black Chevrolet Lumina, joined the  group for three

          or four minutes, and then left.

                    Appellants Oscar Pag n-Garc a ("Pag n") and codefendant

          Roberto Maldonado-Torres  ("Maldonado-Torres") arrived  in a  red

          Ford Mustang  about five  minutes later.   Agent Rivera  observed

          Travieso  approach  the Mustang  and  lean  his body  inside  the


                                         -7-














          vehicle as if he were looking for something.  Travieso removed an

          object  (which Agent  Rivera  could not  identify)  from the  red

          Mustang  and headed  towards the  gray  Toyota Tercel.   When  he

          returned,  he took  a  green  handbag from  the  red Mustang  and

          brought  it  to the  rear  of  that vehicle.    Pag n  exited the

          driver's  side of the  red Mustang and  opened its trunk.   Agent

          Rivera  testified  that  the  trunk  remained  open  for  several

          seconds, but that he was  unable to discern what happened to  the

          green handbag.  A few seconds later, Maldonado-Torres exited from

          the passenger's side of the  red Mustang and accompanied Travieso

          and  Pag n as  they  joined the  group near  the bench.   Shortly

          thereafter,  Rodr guez-Rodr guez returned to  the parking  lot in

          the black Lumina and rejoined the group.  

                    Several minutes later, Rodr guez-Resto and Romero  left

          the  parking lot  in the  black Pontiac  station wagon.   By this

          time, several  other DEA agents  had joined Agent Rivera.   Agent

          Rivera followed  the black station  wagon as it circled  the park

          while the  other agents  continued  to surveil  the parking  lot.

          Agent  Rivera testified that  Rodr guez-Resto and Romero appeared

          to  him to  be  conducting countersurveillance  in  an effort  to

          ferret  out any  "tails."3    After  Rodr guez-Resto  and  Romero

          returned to the parking lot, Agent Rivera joined the other agents

          at his prior surveillance post.  
                              
          ____________________

          3   Specifically, Agent Rivera testified that Rodr guez-Resto and
          Romero were  "buscando rabo . . .  which indicates that they were
                        _____________
          looking  around, checking on  surveillance to see  who's watching
          them . .  . .  [T]hey're looking through their rear view mirrors,
          looking all over the place to see who's watching them."

                                         -8-














                    A few  moments later, appellant  Carlos Mart nez-Molina

          ("Mart nez")  arrived in  a black  Toyota Supra  and the  six DEA

          Agents  decided  to intervene.    The  Agents,  all clad  in  DEA

          jackets, identified themselves  as law enforcement personnel  and

          moved  in to  detain the  group.   V lez,  Mart nez, Romero,  and

          Maldonado-Torres were all detained as they  attempted to flee the

          scene.   Mart nez  discarded an  airplane  ticket while  fleeing.

          Agent Rivera also found an  abandoned cellular phone nearby.  The

          Agents  also seized airline tickets from Feliciano, Pag n, Noble,

          Maysonet, Carlos  Tejada, and  Angel Tejada.   All of  the seized

          tickets  had been  issued under  false  names for  a flight  from

          Puerto  Rico to New York  later that afternoon.  Rodr guez-Resto,

          Travieso, Noble, Pag n,  Carlos Tejada, Angel Tejada,  and Romero

          were all found to be carrying over $1,000 in cash.

                    Agent  Rivera testified that after all fourteen men had

          been  arrested, he observed  suitcases in three  of the vehicles:

          the red Suzuki, the white van,  and the black station wagon.   He

          also  testified   that  twelve   yellow,  U.S.D.A.   Agricultural

          inspection stickers  were in  plain view on  the front  seats and

          dashboards of six of the  vehicles.  Agent Rivera testified that,

          based on  his experience  in law enforcement,  he knew  that drug

          smugglers  commonly used  these stickers  to  bypass agricultural

          inspection at the airport.   The Agents then searched all  of the

          vehicles.  Seven  of the vehicles  contained two suitcases  each,

          for a total  of fourteen suitcases.   The Agents  also found  two

          handbags in the black station  wagon, including the green handbag


                                         -9-














          Travieso  had removed  from the  red Mustang.   The  Agents found

          $3,000 in cash  in the black Lumina and an  unused airline ticket

          for a flight on the previous day in a Red Mazda Protege.

                    The  men  were  all  handcuffed and  taken  to  the DEA

          offices.  The Agents obtained  a search warrant for the suitcases

          and handbags after  a drug detection  dog indicated the  probable

          presence of  narcotics  in  eleven  of  the  suitcases  and  both

          handbags.  Each of the eleven suitcases contained thirty to forty

          kilograms  of  cocaine.   Neither  handbag was  found  to contain

          cocaine.

                                  PROCEDURAL HISTORY
                                  PROCEDURAL HISTORY

                    The  defendants  all  moved  to  suppress the  evidence

          seized from  their  persons and  vehicles.   The  district  court

          denied the  motions to suppress,  and all ten  appellants entered

          conditional  guilty pleas to possession with intent to distribute

          cocaine, in violation of 21 U.S.C. 841(a).   In exchange for each

          appellant's  written plea  agreement,  the  government agreed  to

          limit  each appellant's relevant conduct to fifteen kilograms for

          the  purpose of sentencing.   The plea agreements  were part of a

          "package deal"  and were contingent  on all of the  defendants in

          this case accepting the plea offer and entering a plea of guilty.

          The plea agreements provided that  "should any of the  defendants

          decide  to change  his plea according  to the offer,  the plea is

          automatically withdrawn as to all of the defendants."  Carlos

          Tejada, Angel  Tejada, and Romero had elected  to go to trial and

          were excepted from this requirement.


                                         -10-














                    All  ten  appellants  entered  their  guilty  pleas  on

          October 20, 1993.   Later that day, the jury  trial commenced for

          codefendants Carlos  Tejada, Angel  Tejada, and  Romero.  At  the

          conclusion of  the government's  case, the  court granted  Carlos

          Tejada's motion  for acquittal.   On October  27, 1994,  the jury

          acquitted Angel Tejada and convicted Romero.

                    On November 16, 1993, Rodr guez-Resto moved to withdraw

          his guilty plea.  Travieso and V lez both moved to withdraw their

          guilty  pleas on  January 31,  1994,  the day  of the  sentencing

          hearing.  The district court denied all three motions.4  

                               THE MOTIONS TO SUPPRESS
                               THE MOTIONS TO SUPPRESS

          I.  Lawfulness of Arrests
          I.  Lawfulness of Arrests
              _____________________

                    Nine   appellants   --    Maldonado,   Rodr guez-Resto,

          Rodr guez-Rodr guez,5   Feliciano,   Maysonet,    V lez,   Noble,
                              
          ____________________

          4   The district court  also denied  the motions to  withdraw the
          guilty  pleas of  three  other  defendants.    These  defendants,
          however, do not appeal this issue.

          5   Nothing was  seized from  the person  of Rodr guez-Rodr guez.
          Rather, he seeks to  suppress the cash found in his Black Lumina.
          In  this regard,  he  argues  that his  arrest  was unlawful  and
          accordingly the  search of  the vehicle was  not a  valid search-
          incident-to-arrest.  See New York v. Belton, 453 U.S. 454, 460-61
                               ___ ________    ______
          (1981).

             The government,  however, no  longer attempts  to justify  the
          vehicle searches as incident to lawful arrest, contending instead
          that there was probable cause to search the vehicles.  "Under the
          'automobile  exception,' the only essential predicate for a valid
          warrantless search of a motor vehicle by law enforcement officers
          is probable cause to believe that the vehicle contains contraband
          or other evidence of criminal activity."  United States v. McCoy,
                                                    _____________    _____
          977   F.2d  706,  710   (1st  Cir.  1992)   (citations  omitted).
          Therefore,  provided there  was  probable  cause  to  search  the
          vehicle  at the time  of Rodr guez-Rodr guez' arrest,  the search
          was valid even  if the arrest was  not, as the police  would have
          had  an independent basis  for searching the  vehicle, apart from

                                         -11-














          Travieso, and  Pag n   -- argue that  they were  arrested without

          probable cause, and that therefore the items seized  during their

          arrest should have been suppressed.  

                    A.  Standard of Review
                    A.  Standard of Review
                        __________________

                    With  respect to  a  motion to  suppress,  we review  a

          district court's findings of fact  only for clear error.  Sealey,
                                                                    ______

          30 F.3d at  9; United States v.  Maguire, 918 F.2d 254,  257 (1st
                         _____________     _______

          Cir. 1990), cert. denied, 499  U.S. 950 (1991).  This deferential
                      ____________

          standard is appropriate because the district court has a superior

          sense of what actually transpired during an incident by virtue of

          its  ability to  see and  hear the  witnesses who  have firsthand

          knowledge of the events.   United States v. Zapata, 18  F.3d 971,
                                     _____________    ______

          975 (1st Cir.  1994).  Questions of law, however,  are subject to

          de novo review.  Id.
          _______          __

                    B.  Applicable Law
                    B.  Applicable Law
                        ______________

                    Law enforcement officers may effect warrantless arrests

          provided  that  they have  probable  cause  to believe  that  the

          suspect has committed or is committing a crime.  United States v.
                                                           _____________

          Watson, 423 U.S.  411, 416-18 (1976); Gerstein v.  Pugh, 420 U.S.
          ______                                ________     ____

          103,  113-14 (1975).   "[P]robable  cause is  a fluid  concept --

          turning  on the assessment of probabilities in particular factual

          contexts," Illinois  v. Gates, 462  U.S. 213, 232 (1983),  and as
                     ________     _____

          such  "must   be  evaluated   in  light   of   the  totality   of
                              
          ____________________

          any exploitation of illegal conduct.  Id. at n.4.  See also Brown
                                                ___          ________ _____
          v. Illinois, 422 U.S. 590, 599 (1975); United States v. Pimental,
             ________                            _____________    ________
          645  F.2d 85,  86  (1st  Cir. 1981).    Therefore, in  addressing
          Rodr guez-Rodr guez'  motion  to  suppress,  we  need not  decide
          whether his arrest was unlawful.  

                                         -12-














          circumstances."  United  States v. Torres-Maldonado, 14  F.3d 95,
                           ______________    ________________

          105    (1st    Cir.    1994)   (quoting    United    States    v.
                                                     ________________

          Uricoechea-Casallas,  946   F.2d  162,  165  (1st   Cir.  1991)).
          ___________________

          Moreover,  in order to  establish probable cause,  the government

          "need  not present  the quantum  of proof necessary  to convict."

          Id. at 105  (quoting Uricoechea-Casallas, 946 F.2d at  165).  See
          __                   ___________________                      ___

          also  United States v. Morris, 977 F.2d  677, 684 (1st Cir. 1992)
          ____  _____________    ______

          (same), cert.  denied, 113 S.  Ct. 1588 (1993); United  States v.
                  _____________                           ______________

          Figueroa, 818 F.2d 1020, 1023 (1st Cir. 1987) (same).  Rather, it
          ________

          need only  show that  at the time  of the  arrest, the  facts and

          circumstances  known to the arresting officers were sufficient to

          warrant  a prudent  person in  believing that  the  defendant had

          committed or  was committing  an offense.   Torres-Maldonado,  14
                                                      ________________

          F.3d at 105; see also Beck v. Ohio, 379 U.S. 89, 91 (1964).
                       ________ ____    ____

                    Of  course, probable cause  must exist with  respect to

          each  person arrested, and "a person's mere propinquity to others

          independently suspected  of criminal  activity does  not, without

          more, give rise to probable cause to search that person."  Ybarra
                                                                     ______

          v. Illinois, 444 U.S. 85,  91 (1979) (citing Sibron v. New  York,
             ________                                  ______    _________

          392 U.S. 40,  62-63 (1968)); see also United States v. Diallo, 29
                                       ________ _____________    ______

          F.3d   23,  25  (1st  Cir.   1994).    Rather,  "some  additional

          circumstances  from which it is reasonable to infer participation

          in criminal enterprise must be shown."  United States v. Burrell,
                                                  _____________    _______

          963 F.2d 976, 986 (7th Cir.), cert. denied, 113 S. Ct. 357 (1992)
                                        ____________

          (quoting United States  v. Hillison, 733 F.2d 692,  697 (9th Cir.
                   _____________     ________

          1984)).  


                                         -13-














                    In   assessing  the   significance  of   a  defendant's

          association  to   others  independently  suspected   of  criminal

          activity, the Hillison court looked to whether the known criminal
                        ________

          activity was contemporaneous with the association and whether the

          circumstances  suggest that the criminal activity could have been

          carried on  without the  knowledge of all  persons present.   See
                                                                        ___

          Hillison, 733 F.2d at 697 (citations omitted).  Other courts have
          ________

          focused on the nature of  the place in which the arrest  occurred

          and whether the  individual himself was behaving  suspiciously or

          was merely "tainted"  by another.  See United  States v. Tehrani,
                                             ___ ______________    _______

          49 F.3d 54, 59 (2d Cir. 1995).

                    A  survey of the relevant caselaw makes clear, however,

          that it is often difficult to determine precisely what additional

          factors  are  sufficient  to create  the  requisite  inference of

          participatory  involvement.    In  Ybarra,  444  U.S.  at  90-91,
                                             ______

          officers had a  warrant to  search a  bar and  its bartender  for

          heroin.  They conducted a patdown search of Ybarra, a bar patron,

          despite the  fact he  had  made no  gestures suggesting  criminal

          conduct, no  attempts to  conceal contraband,  and no  suspicious

          statements.   In declaring the  search invalid,  the Court  noted

          that the officers "knew nothing  more about Ybarra except that he

          was present,  along  with several  other customers,  in a  public

          tavern at a time when the  police had reason to believe that  the

          bartender would have  heroin for  sale."   Id. at 91.   See  also
                                                     ___          _________

          Swint v. City  of Wadley, Alabama,  51 F.3d 988 (11th  Cir. 1995)
          _____    ________________________

          (holding that the legitimate search and seizure of one suspect in


                                         -14-














          a public place  cannot be bootstrapped into probable  cause for a

          broadbase search of the business establishment and its patrons).

                    Similarly,  in  Sibron v.  New  York, 390  U.S.  40, 62
                                    ______     _________

          (1968), the Court held that probable cause was not established by

          the  mere  fact that  the defendant  spoke to  a number  of known

          narcotics  addicts  over  a  period  of  eight  hours  where  the

          arresting officer was  completely ignorant regarding  the content

          of the  conversation and saw  nothing pass between  the defendant

          and  the addicts.  See  also United States  v. Chadwick, 532 F.2d
                             _________ _____________     ________

          773, 784  (1st Cir.  1976), aff'd on  other grounds   433  U.S. 1
                                      _______________________

          (1977) (mere act of picking  up suspected drug traffickers at the

          train station and helping them load a contraband-laden footlocker

          into  car does  not, without  more,  constitute probable  cause);

          United States v.  Di Re, 332  U.S. 581, 593 (1948)  (holding that
          _____________     _____

          "[t]he argument that  one who 'accompanies a criminal  to a crime

          rendezvous'  cannot be assumed to be a bystander, forceful enough

          in  some circumstances,  is farfetched  when the  meeting is  not

          secretive or in a suspicious hide-out . . . and where the alleged

          substantive crime is  one which does not  necessarily involve any

          act visibly criminal").

                    In  contrast, the  cases  in  which  courts  find  that

          probable cause exists generally involve substantially more than a

          momentary, random, or apparently innocent association between the

          defendant  and  the known  criminal activity.   For  instance, in

          United States v. Patrick, 899 F.2d 169 (2d Cir. 1990),  the court
          _____________    _______

          upheld the search  of a male defendant (Patrick)  who crossed the


                                         -15-














          border from  Canada into  New York at  about the  same time  as a

          woman (Taylor)  who was found to  be carrying narcotics.   Id. at
                                                                     ___

          170.  When the two entered the Immigration Office, there  were no

          other  travellers  present,  and both  defendants  told  the same

          unusual story:   they had accidentally crossed the  border by bus

          and were  simply returning  to the United  States.   Id. at  171.
                                                               ___

          When cocaine base  was found  in the woman's  purse, the man  was

          also arrested.   Id.  at 172.   Distinguishing Ybarra,  the court
                           ___                           ______

          found that  the fact  that the man  and woman  had simultaneously

          entered  the Immigration  Office at  a time  when no  others were

          present and  that both told  the same unusual story  "provided an

          adequate  basis  for  the officials  to  reasonably  believe that

          Patrick was not just a  mere innocent traveling companion but was

          travelling and  acting in concert with Taylor in transporting the

          cocaine."  Id.
                     ___

                    Similarly,  in United States v. Halliman, 923 F.2d 873,
                                   _____________    ________

          881-82 (D.C. Cir.  1991), police officers suspected  that a group

          of  narcotics  traffickers was  living  at and  operating  out of

          several rooms at the  Holiday Inn.   Id. at 875.   Pursuant to  a
                                               ___

          valid search, the officers seized a substantial amount of cocaine

          and  arrested defendant Halliman.   Id. at 876-77.  Subsequently,
                                              ___

          two men entered the hotel lobby and headed for the rooms that had

          just been searched.   The night manager informed  police that the

          two men were "in the group" of narcotics traffickers who had been

          frequenting the hotel  for the past  month.  The  men stopped  in

          front of one  of the rooms in  which the cocaine had  been seized


                                         -16-














          and contemplated the broken lock.   The police then arrested them

          and seized  the cocaine  they were  carrying.   Id. at  877.   In
                                                          ___

          upholding  the arrest, the  court distinguished Ybarra  by noting
                                                          ______

          that  "the police  here  were  aware of  more  than a  momentary,

          casual, or random association among the defendants, the location,

          and Halliman."  Id. at 882.
                          ___

                     In Hillison, 733 F.2d at 697, the defendant registered
                        ________

          at a hotel under an alias and occupied a room adjacent to two men

          known  to be  engaged in  narcotics trafficking.   The  three men

          visited  back and  forth between  the  two rooms  and used  their

          automobiles interchangeably.   The court found probable  cause to

          arrest the defendant based on his close association with the drug

          traffickers over the course of  three days, noting that "it taxes

          credulity to  assert that [the  defendant] spent as much  time in

          [the drug-traffickers'] company . . . without knowing about their

          drug dealing activity."  Id.
                                   ___

                    In United States  v. Holder, 990 F.2d  1327, 1329 (D.C.
                       _____________     ______

          Cir. 1993), the court found  probable cause to arrest a defendant

          found  at the  scene of  a  narcotics transaction.   The  court's

          analysis focused on  the fact that the transaction  occurred in a

          private apartment  where the drugs  were openly on display.   The

          court distinguished Ybarra, stating that while Ybarra's "presence
                              ______

          in a  public tavern  was ostensibly  innocent, [the  defendant's]

          presence in a private apartment just a few feet from a table full

          of cocaine  can  hardly be  so  described. .  .  .   The  logical




                                         -17-














          inference  .  . .  was  that  [he]  was  either a  party  to  the

          distribution of drugs or a customer."  Id.  
                                                 ___

                    With these principles in mind, we turn to the claims of

          each appellant.

                    C.  Analysis
                    C.  Analysis
                        ________

                      1.  Travieso, Maldonado, and Feliciano
                      1.  Travieso, Maldonado, and Feliciano
                          __________________________________

                    We  first consider  the claims of  appellants Travieso,

          Maldonado, and Feliciano.  The record indicates that although the

          men were  in a park  near a basketball  court, they were  neither

          dressed  to play  nor visibly  equipped for  a social  gathering.

          Agent  Rivera  also  witnessed Maldonado  talking  on  a cellular

          phone, which  we have previously noted  to be a  "known tool[] of

          the  drug trade."   United States v.  de la Cruz,  996 F.2d 1307,
                              _____________     __________

          1311 (1st  Cir.), cert.   denied, 114 S.  Ct. 356 (1993).   While
                            ______________

          these  facts  might not  be enough  alone to  constitute probable

          cause, they do  weigh in our evaluation  of the "totality of  the

          circumstances."   More significant,  however, are  Agent Rivera's

          subsequent  observations.    He testified  that  after  the black

          Pathfinder arrived, the  Passenger removed two handbags  from the

          vehicle and  placed them between  the white van and  gray Cougar.

          Agent  Rivera  testified further  that  Travieso, Maldonado,  and

          Feliciano  all  gathered  around as  the  Passenger  handled what

          appeared to be packages of  cocaine.6  We think that  these facts
                              
          ____________________

          6  Appellants  argue that Agent Rivera must  have fabricated this
          testimony because the handbags seized did not contain cocaine and
          the  packages  of cocaine  were  all ultimately  found  in locked
          suitcases for  which the  appellants had no  keys.   Agent Rivera
          suggested  on  cross-examination,  however,  that  the  Passenger

                                         -18-














          would lead a prudent person to believe that a large-scale cocaine

          transaction  was transpiring  and that  Travieso, Maldonado,  and

          Feliciano were involved.   We accordingly hold that their arrests

          were supported by probable cause.   

                      2.  Rodr guez-Resto, Maysonet, V lez, and Noble
                      2.  Rodr guez-Resto, Maysonet, V lez, and Noble
                          ___________________________________________

                    We  now  consider  whether  the  arrests  of appellants

          Rodr guez-Resto, Maysonet, V lez, and Noble were supported by the

          requisite  probable  cause.    All  four  argue  that  they  were

          improperly  arrested  for  their   "mere  propinquity  to  others

          independently  suspected of criminal activity."  Ybarra, 444 U.S.
                                                           ______

          at 91.  Although a close call, we disagree.

                    While  we acknowledge  that  the  facts  here  are  not

          clearly analogous to  any of the cases discussed  above, they are

          completely  distinguishable from Ybarra  and its progeny  in that
                                           ______

          they  indicate  more   than  a  "momentary,  casual,   or  random

          association" between these  four defendants, the location  of the

          arrest, and  those independently suspected of  criminal activity.

          Applying the first  factor enunciated by  the Hillison court,  we
                                                        ________

          note  that  the  connection  between  Rodr guez-Resto,  Maysonet,

          V lez,   and  Noble  and  the  suspected  criminal  activity  was

          contemporaneous:  all  four were among the original  group of men

          that  initially attracted  Agent Rivera's  attention  by using  a



                              
          ____________________

          probably took the  handbags with him  when he left  in the  black
          Pathfinder.    Because  this  interpretation  of  the  events  is
          supported  by the  record, we  cannot find  the district  court's
          reliance on it to be clearly erroneous. 

                                         -19-














          cellular telephone  and gathering in  street clothes in  a public

          park.  See Hillison, 733 F.2d at 697.
                 ___ ________

                    With regard to  the second Hillison factor, we think it
                                               ________

          strains credulity  to suggest  that the  cocaine transaction  was

          being carried  on without the  knowledge of all  persons present.

          Id.  Admittedly, Rodr guez-Resto, Maysonet, V lez, and Noble were
          ___

          not among  the  group  that  gathered  around  as  the  Passenger

          allegedly handled the  packages of cocaine.   Nevertheless, Agent

          Rivera's testimony  clearly indicates that they were  part of the

          group  suspected of narcotics violations.  Agent Rivera testified

          that  the  group  was  bunched  tightly  and  moved  towards  the

          Pathfinder when  it arrived,  suggesting that  they knew or  were

          expecting  its  occupants.   Furthermore,  their  lack  of either

          athletic gear  or picnic accoutrements  made it less  likely that

          they were at the park for an unrelated and innocent activity, and

          therefore suggested that  they were not ignorant of  the criminal

          activity transpiring  around them.   Although these facts  do not

          conclusively rule out  the "innocent  bystander" explanation,  we

          think that they  reasonably imply participatory involvement.   As

          the Supreme Court  has explained, the evidence "must  be seen and

          weighed  not in  terms of  library analysis  by scholars,  but as

          understood by  those  versed in  the field  of law  enforcement."

          Gates, 462 U.S. at 232 (quoting United States v. Cortez, 449 U.S.
          _____                           _____________    ______

          411, 418 (1981)).   We  do not  think officers in  the field  are

          required to divorce themselves from reality or to ignore the fact

          that "criminals rarely  welcome innocent persons as  witnesses to


                                         -20-














          serious  crimes and  rarely seek  to  perpetrate felonies  before

          larger-than-necessary audiences."   United  States v.  Ortiz, 966
                                              ______________     _____

          F.2d  707, 712  (1st Cir.1992),   cert. denied,  113 S.  Ct. 1005
                                            ____________

          (1993).7   Accordingly, we  find that  the arrests  of Rodr guez-

          Resto,  Maysonet, V lez,  and Noble  were  supported by  probable

          cause.8
                              
          ____________________

          7    Although  this  observation   was  made  with  regard  to  a
          sufficiency-of-the-evidence challenge,  we think it  also applies
          in probable cause determinations.

          8  Additional facts strengthen the probable cause finding against
          V lez and Rodr guez-Resto.
            
             V lez  fled when  the  Agents approached,  and as  the Supreme
          Court has  held,  flight  at  the  approach  of  law  enforcement
          officers,  when  coupled  with  specific  knowledge relating  the
          suspect to  evidence  of  a  crime,  is a  proper  factor  to  be
          considered in  the decision to make  an arrest.  See  Sibron, 392
                                                           ___  ______
          U.S. at 66-67; see also  United States v. Romero-Carri n, No. 94-
                         ________  _____________    ______________
          1792, 1995 WL  258843, at *1 (1st Cir. May 9, 1995) (related case
          in which we held that codefendant Romero's flight "evinced a keen
          consciousness of guilt");  United States v. Paleo, 967  F.2d 7, 9
                                     _____________    _____
          (1st Cir. 1992);  United States v. Cruz, 910 F.2d  1072, 1077 (3d
                            _____________    ____
          Cir. 1990), cert. denied, 498 U.S. 1039 (1991).
                      ____________

             With regard to Rodr guez-Resto, Agent Rivera testified that he
          participated   in  a   countersurveillance   effort  along   with
          codefendant  Romero.  It is well settled that countersurveillance
          efforts  are indicative  of  knowing  participation  in  criminal
          activity.  E.g., United States  v. Delgado, 4 F.3d 780, 788  (9th
                     ____  _____________     _______
          Cir. 1993);  United States v. Iafelice, 978  F.2d 92, 95 (3d Cir.
                       _____________    ________
          1992); United States v. Taylor, 956 F.2d 572, 578 (6th Cir. 1992)
                 _____________    ______
          (reasonable  suspicion could  be  inferred  where defendant  "had
          glanced   furtively   in  every   direction   as  if   conducting
          'countersurveillance'").    Here,  Agent  Rivera  testified  that
          Romero  and Rodr guez-Resto were  "looking around  . .  . looking
          through their  rear view mirrors,  looking all over the  place to
          see who's  watching them."   These  observations, while  arguably
          consistent  with innocent  driving, were  sufficient  to allow  a
          trained officer  to infer  that Romero  and Rodr guez-Resto  were
          conducting  countersurveillance   and  accordingly   support  our
          probable cause  determination.   See  Iafelice,  978 F.2d  at  95
                                           ___  ________
          (countersurveillance  could  be  inferred  where defendants  were
          driving  very slowly,  looking  all around,  and  staring at  the
          occupants of all the cars they passed).  

                                         -21-














                      3.  Pag n
                      3.  Pag n
                          _____

                    Appellant  Pag n also claims  that he was  arrested for

          his "mere  propinquity" to  the others.   We disagree.   Although

          Pag n   arrived  after  the   black  Pathfinder  had   left,  his

          interaction  with Travieso  was sufficient  for  the officers  to

          infer  his  participatory  involvement  in  a  drug  transaction.

          Travieso  was among  the four  who had  gathered around  when the

          Passenger handled the suspicious packages taken from the handbags

          retrieved  from the  back of  the black  Pathfinder.   From this,

          Agent  Rivera could reasonably  have concluded that  Travieso was

          intimately involved with  the suspected drug transaction.   Agent

          Rivera  testified that  when Pag n  arrived in  the  red Mustang,

          Travieso immediately came over and inserted his entire torso into

          the  car  as if  he  were  "searching  for something  inside  the

          vehicle."  Agent Rivera  testified that Travieso then  removed an

          object  which  he  could  not  identify  from  the  red  Mustang.

          Travieso then  extracted a  green handbag and  brought it  to the

          rear of the red  Mustang.  Agent Rivera testified that Pag n then

          exited the vehicle, headed to the rear, and opened the trunk.   A

          few seconds later, the trunk was closed and Agent Rivera could no

          longer  see the green handbag.   Pag n then accompanied Travieso,

          and they joined  the group near the  bench.  We think  that these

          events  fairly  imply  participatory  involvement.    When  Pag n

          arrived, Agent Rivera  already had  good reason  to suspect  that

          Travieso  was in possession of handbags containing cocaine.  When

          Travieso immediately retrieved two objects from  Pag n's vehicle,


                                         -22-














          one of which was a handbag which he apparently transferred to the

          trunk,  Agent Rivera reasonably  could have concluded  that Pag n

          was  also a  knowing participant  in the  drug transaction.9   We

          accordingly  find that Pag n's  arrest was supported  by probable

          cause. 

          II.  Lawfulness of the Vehicle Searches
          II.  Lawfulness of the Vehicle Searches
               __________________________________

                    Appellants challenge  the  searches  of  seven  of  the

          eleven vehicles:   the black  Toyota Supra, the gray  Nissan, the

          Red  Suzuki, the white GMC  van, the red  Mazda Protege, the gray

          Cougar, and the black Lumina.10

                    The  Supreme Court has ruled that  an automobile may be

          searched without a  warrant if the police have  probable cause to

          believe that  it  contains contraband,  evidence of  a crime,  or

          other matter that may lawfully be seized.  California v. Acevedo,
                                                     __________    _______

          500 U.S. 565  (1991); United States v. Ross, 456 U.S. 798 (1982).
                                _____________    ____

          As in other  contexts, probable cause to search  a vehicle exists

          where the facts and circumstances known to the arresting officers

          are sufficient to cause a person of reasonable caution to believe

          the search is justified.   United States v. Infante-Ruiz, 13 F.3d
                                     _____________    ____________

          498, 502 (1st  Cir. 1994) (citing 3 Charles  Alan Wright, Federal
                                                                    _______

          Practice and Procedure:  Criminal 2d    662 at 579 (1982)).  That
          ____________________________________
                              
          ____________________

          9  Moreover, the immediacy  of Travieso's actions with respect to
          Pag n's arrival  suggest that  Travieso was  expecting Pag n  and
          knew his vehicle contained the handbags.

          10    The searches  of  the  remaining  vehicles are  either  not
          challenged  or are  challenged in  such  a vague  and perfunctory
          manner that we deem  the challenge waived on appeal.   See United
                                                                 ___ ______
          States v. Zannino, 895 F.2d 1,  17 (1st Cir.), cert. denied,  494
          ______    _______                              ____________
          U.S. 1082 (1990).  

                                         -23-














          is, there must have been particular facts indicating that, at the

          time  of search,  the vehicle  or a  container within  it carried

          contraband, evidence of crime, or other seizable matter.  Id.
                                                                    ___

                    Before addressing whether probable cause  existed as to

          each vehicle,  we note that before they intervened, the arresting

          officers had probable cause to believe  that the tightly gathered

          group in  the parking  lot was engaged  in a  large-scale cocaine

          transaction.   Moreover, when the Agents approached, four members

          of   the  group  attempted  to  flee,  suggesting  their  knowing

          participation in illegal  activity.  Upon searching  the arrested

          men,  the Agents  found large  amounts  of cash  and seven  plane

          tickets for a flight to New York later that afternoon, all issued

          under false names.  Six suitcases were in plain view in  three of

          the  vehicles.   Additionally,  six  of  the  vehicles  contained

          U.S.D.A.  stickers,   commonly  used   by  smugglers  to   bypass

          agricultural inspection at the airport.  From these observations,

          a reasonable law enforcement officer could conclude that most, if

          not all, of  the men were conspiring to  transport narcotics into

          New  York, and that  they were using  the vehicles  parked at the

          scene to bring the narcotics to the airport.

                    A.  The black Supra and the gray Nissan
                    A.  The black Supra and the gray Nissan
                        ___________________________________

                    Mart nez  claims that his  black Supra and  gray Nissan

          were unlawfully searched.  Initially, we note that Mart nez owned

          two of  the vehicles  present at  the park,  and the  police were






                                         -24-














          aware of this fact.11   This suggests that his presence  with the

          other   defendants  at  the  park  was   by  design  rather  than

          coincidence  and significantly discounts  any theory that  he had

          merely stopped by to chat  with some friends.  Additionally, when

          the Agents intervened,  Mart nez fled, discarding a  plane ticket

          in the process.  Moreover, U.S.D.A.  Agriculture stickers were in

          plain view in the vehicles.  We think that these facts would lead

          a reasonably  prudent person to  believe that Mart nez  was using

          his   vehicles  to  facilitate  the  narcotics  conspiracy.    We

          accordingly find that the searches of his vehicles were lawful.

                    B.  The red Suzuki
                    B.  The red Suzuki
                        ______________

                    Maldonado maintains that  the search of his  red Suzuki

          jeep was unlawful.  We disagree.  Agent Rivera testified that two

          suitcases and  two U.S.D.A.  stickers were in  plain view  in the

          vehicle.  Putting these observations  in the context of the other

          observations   and  events,  we  think  the  officers  were  well

          warranted  in  believing  that  the vehicle  was  being  used  to

          facilitate  the narcotics conspiracy.   We accordingly  find that

          the search of the red Suzuki was supported by probable cause.

                    C.  The white GMC van
                    C.  The white GMC van
                        _________________

                    Feliciano challenges the  search of his white  GMC van.

          Initially,  we note  that upon  searching  Feliciano, the  Agents

          found an airline ticket issued under a false name, suggesting his

          involvement in the drug transaction.  Moreover, when Agent Rivera
                              
          ____________________

          11  Before  searching the vehicles,  the police identified  their
          owners  by questioning the defendants and running computer checks
          on the license plates.

                                         -25-














          observed the Passenger  handling the suspicious packages,  he was

          squatting  between Feliciano's van  and the gray  Mercury Cougar.

          Agent Rivera also noted that the sliding door of the van was open

          at this time.   After intervention, the agents  observed that two

          suitcases lay in  plain view  in the  vehicle.   These facts  all

          suggest more than a random connection between the vehicle and the

          suspected narcotics trafficking and in light of the circumstances

          were sufficient  to warrant  the officers  in believing  that the

          vehicle  contained  contraband.   We  accordingly  find  that the

          search of the van was supported by probable cause. 

                    D.  The red Mazda Protege
                    D.  The red Mazda Protege
                        _____________________

                    V lez  maintains that  the  search  of  the  red  Mazda

          Protege was unlawful.   We disagree.  Two  U.S.D.A. stickers were

          in plain view near the dashboard, thus linking the vehicle to the

          suspected narcotics trafficking and warranting the Agents' belief

          that it  contained  contraband.   We  accordingly find  that  the

          search of the red Mazda Protege was supported by probable cause.




















                                         -26-














                    E.  The gray Cougar and the black Lumina
                    E.  The gray Cougar and the black Lumina
                        ____________________________________

                    Rodr guez-Rodr guez maintains  that the  search of  the

          gray Cougar was invalid.   We disagree.  The Passenger's handling

          of the suspicious packages occurred  between the gray Cougar  and

          the  white GMC  van.    Moreover, the  Agents  observed that  two

          U.S.D.A. stickers lay in  plain view in the Cougar.   In light of

          the  circumstances,  we   think  that  these   observations  were

          sufficient to warrant the officers  in believing that the vehicle

          was  being  used to  transport  narcotics  to  the airport.    We

          accordingly find that the search of the gray Cougar was supported

          by probable cause.

                    Rodr guez-Rodr guez also challenges  the search of  the

          black Lumina.   While  this presents a  somewhat closer  call, we

          think the search was  supported by the requisite probable  cause.

          Admittedly, Rodr guez-Rodr guez arrived in the black Lumina after

          the Pathfinder had left the area.  He joined the group for only a

          few  minutes, left  in  the black  Lumina,  and returned  shortly

          thereafter.  The Agents did  not observe anything being placed in

          or withdrawn from the vehicle.

                    Nevertheless, before searching the vehicles, the Agents

          determined that Rodr guez-Rodr guez  owned the gray  Cougar,12 in

          which  the  Agents  had  observed U.S.D.A.  stickers.    This was

          sufficient to warrant the Agents' belief that Rodr guez-Rodr guez

          was intimately  involved in the suspected  narcotics trafficking.

                              
          ____________________

          12  The  black Lumina was owned by the sister of appellant Pag n.
          It is not clear from the record when the Agents learned this.

                                         -27-














          Thus,  before searching the  black Lumina, the  Agents reasonably

          suspected Rodr guez-Rodr guez  of drug trafficking and  knew that

          he was independently associated with two vehicles at the scene of

          the arrest:  the  one in which he  arrived and the one  he owned.

          These   facts,  in  conjunction   with  Agent  Rivera's  previous

          observations  and the  cash  and  tickets  already  seized,  were

          sufficient  to warrant the  Agents' belief that  the black Lumina

          was  being used to  transport narcotics.  See  McCoy, 977 F.2d at
                                                    ___  _____

          711  (where  officers have  probable  cause to  believe  that the

          suspects   used  the  vehicle  in  criminal  activity,  they  may

          reasonably   infer   the  vehicle   contains  contraband).     We

          accordingly  find  that  the  search  of  the  black  Lumina  was

          supported by probable cause.

                           MOTIONS TO WITHDRAW GUILTY PLEAS
                           MOTIONS TO WITHDRAW GUILTY PLEAS

                    Rodr guez-Resto, V lez, and  Travieso all contend  that

          the district  court erred  in denying their  motions to  withdraw

          their guilty pleas.

                    Other than  for errors  of  law, we  will overturn  the

          trial judge's decision to deny a motion to withdraw a guilty plea

          only for  "demonstrable abuse of  discretion."  United  States v.
                                                          ______________

          Allard, 926 F.2d 1237, 1245 (1st Cir. 1991) (citing United States
          ______                                              _____________

          v. Pellerito,  878 F.2d 1535,  1538 (1st Cir. 1989)).   The trial
             _________

          court's  subsidiary findings  of  fact  in  connection  with  the

          plea-withdrawal motion are reviewed only for clear error.  Id.
                                                                     ___

                    It  is well  settled that  a  defendant may  withdraw a

          guilty plea prior  to sentencing only upon a showing of "fair and


                                         -28-














          just reason" for the request.   United States v. Cotal-Crespo, 47
                                          _____________    ____________

          F.3d 1, 3  (1st Cir. 1995) (citing Pellerito, 878  F.2d at 1537);
                                             _________

          see also Fed. R.  Crim. P. 32(d).  To gauge  whether the asserted
          ________

          ground for withdrawal meets the Rule 32(d) standard, a court must

          look at the totality of the circumstances, especially whether the

          defendant's plea  was knowing, voluntary,  and intelligent within

          the meaning of Rule 11.  See Cotal-Crespo, 47 F.3d at 3-4; United
                                   ___ ____________                  ______

          States v.  Doyle, 981 F.2d  591, 594 (1st Cir.  1992); Pellerito,
          ______     _____                                       _________

          878 F.2d at 1537.   Other factors the court  may consider include

          (1)  the  plausibility  of the  reasons  prompting  the requested

          change of plea; (2) the timing of the defendant's motion; and (3)

          the  existence  or  nonexistence of  an  assertion  of innocence.

          Cotal-Crespo, 47  F.3d at  3-4.  Lastly,  even where  a defendant
          ____________

          appears to meet the strictures  of this four-part test, the court

          still must evaluate the  proposed plea withdrawal in  relation to

          any  demonstrable prejudice that will accrue to the government if

          the defendant is permitted to change his plea.  United States  v.
                                                          _____________

          Parrilla-Tirado, 22 F.3d 368, 371 (1st Cir. 1994) (citing  Doyle,
          _______________                                            _____

          981 F.2d at 594; Pellerito, 878 F.2d at 1537).
                           _________

                    All three  appellants contend  that their  codefendants

          and  attorneys coerced  them  into  accepting  the  package  plea

          agreement  at  joint  meetings  immediately  prior  to  the  plea

          hearings.  It is beyond dispute that a guilty plea is involuntary

          and therefore invalid if it  is obtained "by actual or threatened

          physical  harm  or  by  coercion  overbearing  the  will  of  the

          defendant."   Brady v. United  States, 397 U.S. 742,  750 (1970).
                        _____    ______________


                                         -29-














          The Supreme Court  has also explained that  "a prosecutor's offer

          during  plea bargaining of adverse or  lenient treatment for some

          person  other than  the accused  might pose  a greater  danger of
                  _____

          inducing a  false guilty  plea by skewing  the risks  a defendant

          must consider."   Bordenkircher v.  Hayes, 434 U.S. 357,  364 n.8
                            _____________     _____

          (1978) (dictum).  This concern applies to package plea agreements

          because,  "[q]uite possibly, one  defendant will be  happier with

          the package deal than his codefendant(s); looking out for his own

          best interests, the lucky one may try to force his codefendant(s)

          into going along with the deal."  United States v. Caro, 997 F.2d
                                            _____________    ____

          657, 659-60 (9th Cir. 1993).  Package plea deals therefore impose

          special obligations: the prosecutor must alert the district court

          to the fact  that codefendants are entering a  package deal, Fed.

          R. Crim. P. 11(e)(2); United States v. Daniels, 821 F.2d  76, 78-
                                _____________    _______

          79 (1st Cir.  1987); see also Caro,  997 F.2d at 659-60,  and the
                               ________ ____

          district court must carefully ascertain the voluntariness of each

          defendant's plea.   See United  States v. Buckley, 847  F.2d 991,
                              ___ ______________    _______

          1000 n.6  (1st Cir.  1988), cert. denied,  488 U.S.  1015 (1989);
                                      ____________

          Daniels, 821 F.2d at 79-80; see also Caro, 997 F.2d at 60.
          _______                     ________ ____

                    Here, it  is clear from  the record  that the  district

          court was  fully aware of  the package nature of  the defendants'

          plea  agreements.   We nevertheless  must  determine whether  the

          district  court  conducted  a proper  voluntariness  inquiry,  or

          otherwise erred in concluding  that none of the  three appellants

          had asserted a "fair and just reason" for withdrawing his plea.  

                    A.  Rodr guez-Resto
                    A.  Rodr guez-Resto
                        _______________


                                         -30-














                    Before ruling  on his  motion to  change his  plea, the

          district  court   heard  testimony   from  Rodr guez-Resto,   his

          attorney, and Mart nez' attorney.   Rodr guez-Resto testified, in

          effect,  that his  attorney would  not let  him plead  not guilty

          because it would have  destroyed the package deal negotiated  for

          all of the defendants.  Both  attorneys testified that Rodr guez-

          Resto's  guilty plea  was entirely  voluntary and  was in  no way

          coerced by the threat of  nullifying the package deal.  In  fact,

          they  testified, they were  concerned about the  voluntariness of

          package  plea  agreements  and consulted  with  Assistant  United

          States Attorney Pereira, who stated:  "Look, if your client wants

          to go to trial, there are three  defendants that will go to trial

          anyway.  So he  can go to trial and the  agreement will stand for

          the rest of the defendants."   Both attorneys testified that when

          Rodr guez-Resto was informed  that he could  go to trial  without

          jeopardizing  the  package  agreement, he  again  reiterated  his

          desire to plead guilty.

                    After hearing this testimony, the district court denied

          Rodr guez-Resto's motion to withdraw, stating that  his testimony

          simply  was not  credible.   The  district court  found that  his

          guilty plea  had been entered  voluntarily and that his  claim of

          coercion merely reflected second thoughts about the wisdom of his

          decision  after learning that two codefendants had been acquitted

          at trial.   These findings are amply supported by  the record and

          therefore do not constitute clear  error.  Moreover, we note that

          at the  original plea  hearing, the  district court  specifically


                                         -31-














          asked  Rodr guez-Resto whether  anyone had  forced  him to  plead

          guilty, to which he responded no.   Such statements in open court

          during a  plea hearing  "carry a  strong presumption of  verity."

          Blackledge v. Allison,  431 U.S. 63, 74 (1977).   Accordingly, we
          __________    _______

          hold  that the district  court properly  denied Rodr guez-Resto's

          motion to withdraw his guilty plea.

                    B.  V lez and Travieso  
                    B.  V lez and Travieso  
                        __________________

                    Both V lez and Travieso maintain that they were coerced

          into accepting the package plea agreement.  We need not reach the

          issue of whether their pleas were in fact coerced because we find

          that  the district  court failed  to  conduct a  full and  direct

          voluntariness examination in open court, thereby compromising one

          of Rule  11's  "core concerns"  and undermining  the validity  of

          their  guilty  pleas.13     See  Allard,  926  F.2d  at   1244-45
                                      ___  ______

          (explaining  that  Rule  11's core  concerns  are  1) absence  of

          coercion,  2) understanding of  the charges, and  3) knowledge of

          the consequences of the guilty plea).  

                    Rule 11(d) states:  "The  court shall not accept a plea

          of guilty  or nolo  contendere without  first, by  addressing the
                                                         __________________

          defendant personally in open court, determining that the  plea is
          __________________________________

          voluntary and not  the result of force or threats  or of promises

          apart  from  a  plea  agreement."   Fed.  R.  Crim.  Proc.  11(d)

                              
          ____________________

          13  The district court divided the ten appellants into two groups
          of  five for  the  purpose of  conducting their  plea colloquies.
          Rodr guez-Resto  was in the  first group, and  V lez and Travieso
          were  in the  second.   Thus, V lez and  Travieso were  not asked
          exactly the same questions that Rodr guez-Resto was asked.


                                         -32-














          (emphasis added).  Here,  the  district  court conducted  only  a

          partial inquiry into  the voluntariness of Travieso's  and V lez'

          guilty  pleas.   Specifically,  it  asked them  whether  they had

          "entered  into [the]  plea agreement  without  compulsion or  any

          threats or promises  by the -- from  the U.S. Attorney or  any of

          its agents."   It  did not, however,  ask whether  the defendants

          were  pleading  guilty  voluntarily  or  whether  they  had  been

          threatened  or pressured by their codefendants into accepting the

          package  plea agreement.  Under these circumstances, the district

          court's  inquiry was  incomplete because,  regardless of  whether

          Travieso's and V lez' guilty pleas were actually coerced by their

          codefendants,  the literal answer  to the court's  question could

          still   have  been  "yes."     Admittedly,  all   the  defendants

          acknowledged in their written  plea agreements that they had  not

          been  threatened or pressured  into entering their  guilty pleas,

          and all testified at the plea hearings that they had answered the

          questions in  the plea  agreements truthfully  after consultation

          with their attorneys.  In many situations, however, "reliance  on

          'a written document  is not a sufficient  substitute for personal

          examination  [by the court].'"  United States v. Medina-Silveria,
                                          _____________    _______________

          30 F.3d 1, 3  (1st Cir. 1994) (quoting James W.  Moore, 8 Moore's
                                                                    _______

          Federal Practice   11.-05[2]  (1994)) (other citations  omitted).
          ________________

          The  Supreme  Court  has similarly  expressed  the  importance of

          direct interrogation by  the district court judge  in determining

          whether to accept the defendant's guilty plea:

                      To  the extent  that  the district  judge
                      thus  exposes  the defendant's  state  of

                                         -33-














                      mind  on  the   record  through  personal
                      interrogation,  he  not  only facilitates
                      his own determination of a guilty  plea's
                      voluntariness,  but  he  also facilitates
                      that  determination  in   any  subsequent
                      post-conviction proceeding  based upon  a
                      claim  that  the  plea  was  involuntary.
                      Both  of  these goals  are  undermined in
                      proportion  to  the degree  the  district
                      judge resorts to  "assumptions" not based
                      upon recorded responses to his inquiries.

          McCarthy v. United States, 394 U.S. 459, 467 (1969).  
          ________    _____________

                    Where a district court has only partially addressed one

          of Rule 11's core concerns,  we must reverse a determination that

          there was no  fair and just reason  to set the plea  aside unless

          the  irregularities  in   the  plea  proceeding  do   not  affect

          "substantial rights" of the defendant.  See Cotal-Crespo, 47 F.3d
                                                  ___ ____________

          at  7  (discussing  application of  Rule  11(h)'s  harmless error

          standard when plea-taking errors result in a "partial failure" to

          address one of  Rule 11's core  concerns).  Because  package-type

          plea  agreements increase the risk that one defendant will coerce

          another  to plead  guilty, the  district court  was obligated  to

          ascertain  carefully whether the defendants were in fact entering

          their pleas without compulsion.   See Daniels, 821 F.2d at 79-80;
                                            ___ _______

          United  States v.  Buckley,  847 F.2d  at  1000 n.6.    Here, the
          ______________     _______

          district court  made no  effort whatsoever  to determine  whether

          Travieso's   and  V lez'  pleas   were  coerced.     Under  these

          circumstances, we  cannot say  that they lacked  a fair  and just

          reason  for plea withdrawal,  especially since the  court's lapse

          arguably  affected  their  substantial  rights.     The  advisory

          committee's notes make clear that Rule 11(h) "was not intended to


                                         -34-














          allow  district courts to  ignore Rule 11['s]  express commands."

          Medina-Silveria,  30 F.3d at 4 (citation  omitted).  Rather, Rule
          _______________

          11(h)'s harmless error provision is intended to excuse "minor and

          technical violation[s]" and  cannot be invoked where  the court's

          deviation effectively "nullif[ies] important Rule 11 safeguards."

          Fed.  R.  Crim. Proc.  11(h)  advisory committee's  note  to 1983

          amendment.   V lez' and Travieso's guilty pleas must therefore be

          set aside  and  the case  must be  remanded for  further Rule  11

          proceedings or trial.

                          INEFFECTIVE ASSISTANCE OF COUNSEL
                          INEFFECTIVE ASSISTANCE OF COUNSEL

                    On  the  morning of  the  suppression  hearing, Pag n's

          attorney  moved  for  a  continuance  because  her  presence  was

          required at another hearing.  The court denied the motion, noting

          that  a continuation would be logistically implausible because of

          the  large number of defendants, attorneys, and witnesses present

          for the hearing.  After consulting with Pag n, his attorney asked

          Travieso's  attorney  to  cover for  her  during  the suppression

          hearing.   Pag n's attorney returned shortly after  the court had

          begun  ruling on  the motions  to  suppress.   After denying  the

          motions, the court agreed to allow the defendants to file motions

          to reconsider and to provide Pag n's counsel with a transcript of

          the hearing.  Although the  court later extended the deadline for

          filing motions, Pag n never sought reconsideration.  

                    Pag n now contends that the court  erred by denying his

          motion for a continuance, and that as a result of this  error, he

          was  denied effective  assistance of  counsel.   We need  not wax


                                         -35-














          longiloquent on this contention.   United States v. Talladino, 38
                                             _____________    _________

          F.3d 1255, 1261  (1st Cir. 1994).  Initially, we  note that Pag n

          points  to nothing  in the  record  that would  suggest that  the

          district  court abused its discretion in denying the continuance.

          See  United States  v. Rodr guez-Cort s,  949 F.2d 532,  545 (1st
          ___  _____________     ________________

          Cir. 1991) (refusal to grant  a continuance is reviewed for abuse

          of  discretion, and  only "unreasonable and  arbitrary insistence

          upon expeditiousness  in the  face of  a justifiable  request for

          delay"  constitutes an abuse  of discretion).   Moreover, Pag n's

          ineffective-assistance-of-counsel  claim  is   utterly  untenable

          given the extensive  cross-examination conducted  by the  defense

          counsel for his  eleven codefendants.  Additionally, we note that

          even  after receiving  the transcripts  of  the hearing,  Pag n's

          counsel did not move for reconsideration, suggesting that she was

          then satisfied with the record developed  by the other attorneys.

          In  fact, Pag n still has not explained what additional questions

          his  counsel would  have asked  Agent Rivera  at the  suppression

          hearing.  We  accordingly reject Pag n's  ineffective-assistance-

          of-counsel claim.14

                    We  have  explored  the  other  claims  raised  by  the

          appellants and find them equally meritless.

                    Affirmed in part, reversed in part.
                    Affirmed in part, reversed in part.
                    __________________________________
                              
          ____________________

          14  Although we ordinarily refrain from entertaining ineffective-
          assistance-of-counsel claims on direct  review, see United States
                                                          ___ _____________
          v. Mala, 7  F.3d 1058, 1063 (1st  Cir. 1993), we have  elected to
             ____
          reach  Pag n's  claim  because the  record  is  sufficiently well
          developed  to permit ajudication and the claim is bound up in the
          claim for  denial of  a continuance --  a claim that  is properly
          before us.

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